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      [additional counsel on signature page]
  7
  8 Attorneys for Plaintiff Lisa Doyle
  9
                          UNITED STATES DISTRICT COURT
 10
                        CENTRAL DISTRICT OF CALIFORNIA
 11
                                  WESTERN DIVISION
 12
 13 LISA DOYLE, DERIVATIVELY AND                 Case No: 15-CV-07568-SJO
    ON BEHALF OF RESONANT, INC.,                 (MRWx)
 14
             Plaintiff,
 15                                              Hon. S. James Otero
 16          v.
                                                 NOTICE OF MOTION AND
 17                                              MOTION FOR FINAL
      TERRY LINGREN, et al.,
 18                                              APPROVAL OF
                  Defendants,                    DERIVATIVE SETTLEMENT
 19
                  and
 20                                              Derivative Action Filed: Sept. 25,
      RESONANT INC.,                             2015
 21
 22               Nominal Defendant.
                                                 Hearing Date: April 2, 2018
 23                                              Hearing Time: 9:00 A.M.
                                                 Courtroom: 10C – First Street
 24                                              Courthouse
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 26
 27
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           NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF DERIVATIVE SETTLEMENT;
                                     Case No: 15-CV-07568-SJO
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  1                              NOTICE OF MOTION
  2        TO THE COURT AND TO ALL COUNSEL OF RECORD:
  3        PLEASE TAKE NOTICE that on April 2, 2018 at 9:00 a.m., in the above-
  4 captioned court, Plaintiff Lisa Doyle will and hereby does move under Rule 23.1(c)
  5 of the Federal Rules of Civil Procedure, before the Honorable S. James Otero, United
  6 States District Court Judge, in Courtroom 10C in the United States Courthouse,
  7 located at 350 W. 1st Street, Los Angeles, California 90012, for entry of a Final
  8 Judgment in the form attached as Exhibit D to the Stipulation and Agreement of
  9 Settlement (Dkt. No. 53-5) and resubmitted herewith: (1) Granting final approval of
 10 the propsed Settlement on the terms set forth in the Stipulation; and (2) Finally
 11 approving Plaintiff’s Counsel’s mutally agreed upon Fee Award and Service Award
 12 to Plaintiff.
 13        Plaintiff’s motion is based on the accompanying Memorandum of Points and
 14 Authorities in Support of Unopposed for Final Approval of Derivative Settlement, the
 15 Stipulation, the Declaration of Laurence M. Rosen in Support of Motion for Final
 16 Approval of Derivative Settlement (“Rosen Decl.”), and such additional evidence or
 17 argument as may be required by the Court.
 18        Local Rule 7-3 Conference of Counsel: Counsel for the parties have discussed
 19 this Motion and its subject matter on numerous occasions, including engaging in
 20 negotiations over several months, and executing the Stipulation on December 14,
 21 2017 and filed with the Court on December 15, 2017 (Dkt. No. 53-1). Defendants do
 22 not oppose this Motion.
 23
      Dated: March 5, 2018                THE ROSEN LAW FIRM, P.A.
 24
 25                                       By: /s/ Laurence M. Rosen
                                          Laurence M. Rosen, Esq. (SBN 219683)
 26                                       355 South Grand Avenue, Suite 2450
 27                                       Los Angeles, CA 90071
                                          Telephone: (213) 785-2610
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Case 2:15-cv-07568-SJO-MRW Document 63 Filed 03/05/18 Page 3 of 4 Page ID #:388




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 10                                      Attorneys for Plaintiff Lisa Doyle
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                                   Case No: 15-CV-07568-SJO
Case 2:15-cv-07568-SJO-MRW Document 63 Filed 03/05/18 Page 4 of 4 Page ID #:389




  1                            CERTIFICATE OF SERVICE
  2        I, Laurence M. Rosen, hereby declare under penalty of perjury as follows:
  3        I am the managing attorney with The Rosen Law Firm, P.A., with offices at
  4 355 South Grand Avenue, Suite 2450, Los Angeles, CA, 90071. I am over the age of
  5 eighteen.
  6        On March 5, 2018, I electronically filed the following NOTICE OF MOTION
  7 AND MOTION FOR FINAL APPROVAL OF DERIVATIVE SETTLEMENT with
  8 the Clerk of the Court using the CM/ECF system, which sent notification of such
  9 filing to counsel of record.
 10
 11 Executed on March 5, 2018.
 12                                               /s/ Laurence M. Rosen
                                                  Laurence M. Rosen
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          NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF DERIVATIVE SETTLEMENT;
                                    Case No: 15-CV-07568-SJO
